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AO 91 (Rev. 11/11) Criminal Complaint                                                                                       FILED
                                                                                                                        J     J.   JR,
                                     UNITED STATES DISTRICT COURT                                                            CLERK
                                                                   for the                                              9/10/2021
                                                   __________ District of __________
                                                                                                                  U.S. DISTRICT COURT
                  United States of America                            )                                      WESTERN DISTRICT OF KENTUCKY
                             v.                                       )
                     ERIC D. MOSLEY
                                                                      )      Case No.            3:21MJ-457
                                                                      )
                                                                      )
                                                                      )
                                                                      )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    September 9, 2021              in the county of              Jefferson                in the
     Western           District of             Kentucky           , the defendant(s) violated:

            Code Section                                                        Offense Description
21 U.S.C. 841(a)(1) and (b)(1)(B)                 Possession with Intent to Distribute a Controlled Substance
18 U.S.C. 924(c)(1)(A)                            Possession of a Firearm in Furtherance of Drug Trafficking
18 U.S. C. 922(g)(1)                              Possession of a Firearm by a Prohibited Person




         This criminal complaint is based on these facts:
See attached affdiavit.




         ✔ Continued on the attached sheet.
         ’

                                                                                                   /s/ Ryan Whitford
                                                                                                 Complainant’s signature

                                                                                                Ryan Whitford, FBI TFO
                                                                                                  Printed name and title

Sworn to before me                        .

              September 10, 2021
Date:
                                                                                                    Judge’s signature

City and state:                         Louisville, Kentucky                         Colin H. Lindsay, U.S. Magistrate Judge
                                                                                                  Printed name and title



        Print                        Save As...                   Attach                                                     Reset
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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                    LOUISVILLE


                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT



I, Ryan Whitford, having been duly sworn, state;

                                           Introduction

1.     I am a Task Force Officer (“TFO”) of the Federal Bureau of Investigation (FBI) assigned

to the Louisville, Kentucky, Safe Streets Task Force. I have been a TFO of the FBI since 2017. I

am a Detective with the Louisville Metro Police Department (LMPD) and have been a law

enforcement officer of the Commonwealth of Kentucky for over 11 years. By virtue of my

federal deputized authority, I am authorized to conduct investigations into violations of the

Controlled Substances Act. I am a Federal Task Force Officer of the United States within the

meaning of Section 2510 (7) of Title 18 United States Code. As such, I am empowered to

conduct investigations of and to make arrests for offenses enumerated in Title 21, United States

Code, Section 841.

2.     As a TFO of the FBI, I have been assigned as the primary investigator and also assisted

on cases involving drug trafficking organizations as well as street level gang related drug

trafficking organizations. As such, I have initiated and/or participated in investigations involving

the organized distribution of illegal drugs. I have conducted or participated in surveillance,

monitoring of wiretaps, the execution of search warrants, the operation and debriefing of

informants, and have reviewed taped conversations relating to drug transactions. Through my

training, education, and experience, I have become familiar with the manner in which illegal

drugs are transported, stored, and distributed and the methods of payment for such drugs.
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3.     The statements contained in this affidavit are based in part on information I have learned

through my own investigation, experience, and background as an FBI Special Agent, The

statements are also based on information gained from other law enforcement officials and

individuals who have assisted in this investigation. Not every fact known has been placed in this

affidavit. This affidavit is being submitted for the purpose of a criminal complaint. I have not

included each and every fact known to me concerning this investigation.

                                   Offenses Being Committed

4.     The targeted individual is alleged to have committed violations of Possession with the

Intent to Distribute a Controlled Substance in violation of Title 21 United States Code Sections

841(a)(1) and (b)(1)(B), Possession of a Firearm in Furtherance of Drug Trafficking, in violation

of Title 18, United States Code, Section 924(c)(1)(A), and Possession of a Firearm by a

Prohibited Person in violation of Title 18, United States Code, Section 922(g)(1).

                               Facts Establishing Probable Cause

5.     On or about September 9, 2021, agents obtained a search warrant authorized by a United

States Magistrate Judge for the Western District of Kentucky for hotel room number 510 located

at the Hampton Inn, 4100 Hampton Lake Way, Louisville, KY. 40241, a room occupied by

ERIC MOSLEY.

6.     On that same date, agents executed the search warrant at the hotel room. When Agents

executed the warrant at the Hampton Inn Hotel, they found MOSLEY inside the hotel room

alone. A subsequent search of the room revealed that MOSLEY was in possession of

approximately one kilogram of cocaine; one AK-47 style pistol Rom Arm / Cugir 7.62X39

SN#PMD-11158-19RO; a Zigana PX-9 handgun SN#T0620-19BM13542; and approximately
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one hundred thousand dollars in cash ($100,000).     The Zigana PX-9 handgun was previously

reported stolen.

7.     Agents conducted a field test of the suspected cocaine, which tested positive for cocaine.

8.     According to checks of MOSLEY’s criminal history, he is a convicted felon and is

therefore prohibited from possessing a firearm. Specifically, MOSLEY appears to have the

following prior felony convictions:

           a.      On or about December 1, 2015, MOSLEY was convicted of the offenses of

                Enhanced Possession of a Controlled Substance in the First Degree, First Offense;

                Enhanced Possession of Drug Paraphernalia; Enhanced Possession of Marijuana;

                and Enhanced Possession of a Controlled Substance in the First Degree, First

                Offense (Heroin), and was sentenced to 5 years in prison, probated for 5 years in

                case number 15-CR-002635; and

           b. On or about December 1, 2015, MOSLEY was convicted of Enhanced

                Trafficking in a Controlled Substance in the First Degree, First Offense, Less than

                4 Grams of Cocaine; Receiving Stolen Property (Firearm); Enhanced Possession

                of Marijuana; and Trafficking in a Controlled Substance in the First Degree, First

                Offense (Less than 2 grams of Heroin).

9.     Agents confirmed that the firearms seized from MOSLEY were manufactured outside

the Commonwealth of Kentucky. Accordingly, the firearms travelled in interstate commerce

prior to being possessed by MOSLEY.

10.    Based on my training, experience, and knowledge of this investigation, your affiant is

aware that drug traffickers commonly possess firearms in furtherance of their drug trafficking
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activities. That is particularly true in instances in which drugs, firearms, and cash are kept in

close proximity to one another, as was present in the hotel room occupied by MOSLEY.

                                            Conclusion

11.    Based on the evidence gathered in this investigation, Affiant believes there is probable

cause to arrest ERIC MOSLEY for violations of Possession with the Intent to Distribute a

Controlled Substance in violation of Title 21, United States Code, Sections 841(a)(1) and

(b)(1)(B), Possession of a Firearm in Furtherance of Drug Trafficking, in violation of Title 18,

United States Code, Section 924(c)(1)(A), and Possession of a Firearm by a Prohibited Person in

violation of Title 18, United States Code, Section 922(g)(1).



       __/s/ Ryan Whitford_______________________

       Ryan Whitford
       Task Force Officer,
       Federal Bureau of Investigation


       Sworn to me and subscribed by telephone in accordance with Fed. R. Crim. P. 4.1 and
       41(d)(3) this 10th day of September, 2021



       ____________________________________

       Colin H. Lindsay
       United States Magistrate Judge
